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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DAVID CONNER
30 Arlington Avenue
Masontown, Pennsylvania 15461                                JURY TRIAL DEMANDED
       Plaintiff,
v.                                                           CASE NO.       2:22-CV-1240

WAL MART, INC.
355 Walmart Drive
Uniontown, PA 15401
       Defendant


                                 CIVIL ACTION COMPLAINT
       AND NOW Plaintiff,. David Conner, by and through his undersigned counsel, files this

Complaint alleging that his rights, pursuant to the Americans with Disabilities Act and its 2008

amendments (“ADA”), and the Pennsylvania Human Relations Act (“PHRA”), have been

violated and avers as follows:

                                          I.      PARTIES

       1.      Plaintiff, David Conner, hereinafter (“Plaintiff” or “Conner”), is an adult

individual with a mailing address of 30 Arlington Avenue, Masontown, Pennsylvania 15461.

       2.      Defendant, Wal Mart, Inc., hereinafter (“Defendant”) owns and operations a

location at 355 Walmart Drive, Uniontown, Pennsylvania 15401, where Plaintiff was employed.

       3.      At all times material hereto, Defendant was Plaintiff’s employer and acted by and

through its agents, servants, and employees, each of whom acted at all times relevant herein in

the course and scope of their employment with and for Defendant.
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                                       II.     JURISDICTION

        4.      This action is instituted pursuant to the Americans with Disabilities Act, and

applicable federal and state law.

        5.      This Honorable Court has jurisdiction of this matter, case and controversy

pursuant to 28 U.S.C. §§1331, 1343(a)(4) and 42 U.S.C. § 2000e-5(f).

        6.      Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events or omissions giving rise to these claims in this

Judicial District.

        7.      Plaintiff exhausted his administrative remedies pursuant to the Equal Employment

Opportunity Act. On or around October 5, 2021, Mr. Conner dual filed his Charge of

Discrimination with the EEOC and PHRC and received a Dismissal and Notice of Rights (See

Exhibit “A,” a true and correct copy of the Dismissal and Notice of Rights to Sue issued by the

EEOC).

                                             III.   FACTS

        8.      Plaintiff began his employment with Defendant in or around August 29, 2019.

        9.      Plaintiff was hired as a maintenance worker. Mr. Conner performed all duties

asked of his without any complaints or issues.

        10.     Mr. Conner suffers from lung cancer, a diagnosis which he made his manager

aware of at the time of his hiring. Mr. Conner’s manager assured him that Walmart would work

with Mr. Conner for any doctor’s appointment he might have due to his cancer.

        11.     On or around January 18, 2019, Mr. Conner’s grandson and his mother died in a

house fire. He did not ask for some time off until the following week.
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          12.   It hit him very hard to be at work and to see a child that looked like his grandson.

So, Mr. Conner asked for some time off. Wal-Mart assured him that during those two times, Mr.

Conner would not get any attendance points. Wal-Mart did give him attendance points after

assuring him that would not happen.

          13.   On or around October 31, 2020, Mr. Conner took off due to a family member’s

illness, after Wal-Mart had approved the time off. There were times where Mrs. Conner would

call him at work and tell him that she wasn’t feeling right and he would get home and find her

passed out on the floor. Further, Mrs. Conner’s sister passed away on February 7, 2021. It was

very hard for Mr. Conner to work and try to be there for his wife.

          14.   On or about July 14, 2021, Mr. Conner developed a high fever. Given his lung

cancer diagnosis, Mr. Conner contacted his manager, explained that he had a high fever, and that

due to his cancer, he needed to see his doctor, which he did.

          15.   Mr. Conner missed three (3) days of work as a result and brought doctor’s notes

to confirm this, however, Walmart would not accept any doctor’s note and instead gave Mr.

Conner five (5) attendance points in their system.

          16.   On or around July 21, 2021, Mr. Conner was called to the front office around 7:00

pm. Mr. Conner was then told he was terminated. He was upset because he did everything

Walmart asked of him and then more.

                                    IV.     CAUSES OF ACTION

                                     COUNT I –
                TITLE I CLAIM--AMERICANS WITH DISABILITIES ACT
                                 DISCRIMINATION
                             (42 U.S.C.A. § 12101 et seq)

          17.   Plaintiff incorporates the preceding paragraphs as if fully set forth at length

herein.
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         18.       At all times material hereto, and pursuant to the Americans with Disabilities Act

of 1990, 42 U.S.C. §12101, et seq, an employer may not discriminate against an employee based

on a disability.

         19.       Plaintiff is qualified employee and person within the definition of Americans with

Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

         20.       Defendant is an “employer” and thereby subject to the strictures of the Americans

with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

         21.       At all times material hereto, Plaintiffs had qualified disabilities, as described

above.

         22.       Plaintiff’s cancer substantially limited one or more of his major life activities,

including, caring for himself, breathing and working.

         23.       Defendant’s conduct in terminating Plaintiff’s is an adverse action, was taken as a

result of his disability and constitutes a violation of the Americans with Disabilities Act of 1990,

42 U.S.C. §12101, et seq.

         24.       Defendant failed to engage in an interactive discussion of Plaintiff’s disabilities

and failed to reasonably accommodate his disabilities.

         25.       As a proximate result of Defendant’s conduct, Plaintiffs sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiffs

have also sustained work loss, loss of opportunity, and a permanent diminution of earning power

and capacity and a claim is made therefore.
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          26.   As a result of the conduct of Defendant’s owners/management, Plaintiffs hereby

demand punitive damages.

          27.   Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq

Plaintiffs demand attorneys’ fees and court costs.


                                 COUNT II-
      TITLE I CLAIM--AMERICANS WITH DISABILITIES ACT RETALIATION
                         (42 U.S.C.A. § 12101 et seq)

          28.   Plaintiff incorporates the preceding paragraphs as if fully set forth at length

herein.

          29.   At all times material hereto, and pursuant to the Americans with Disabilities Act

of 1990, 42 U.S.C. §12101, et seq, an employer may not retaliate against an employee based his

exercising his rights under the Americans with Disabilities Act.

          30.   Plaintiff is a qualified employee and person within the definition of Americans

with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

          31.   Defendant is an “employer” and thereby subject to the strictures of the Americans

with Disabilities Act of 1990, 42 U.S.C. §12101, et seq.

          32.   As set forth above, Plaintiff engaged in protected activity when he requested

accommodations for his disability.

          33.   Defendant failed to engage in the interactive process after Plaintiff told Defendant

he needed medical accommodations.

          34.   As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional

distress, mental anguish, humiliation, pain and suffering, consequential damages and Plaintiff
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has also sustained work loss, loss of opportunity, and a permanent diminution of his earning

power and capacity and a claim is made therefore.

          35.    As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive damages.

          36.    Pursuant to the Americans with Disabilities Act of 1990, 42 U.S.C. §12101, et seq

Plaintiff demands attorneys’ fees and court costs.

                                     COUNT III-
                VIOLATION OF PENNSYLVANIA HUMAN RELATIONS ACT
                                (43 P.S. § 951, et seq.)

          37.    Plaintiff incorporates the preceding paragraphs as if fully set forth at length

herein.

          38.    At all times material hereto, and pursuant to the Pennsylvania Human Relations

Act, 43 P.S. § 951, et seq, an employer may not discriminate against an employee as a result of

that employee’s disability.

          39.    Plaintiff is a qualified employee and person within the definition of Pennsylvania

Human Relations Act, 43 P.S. § 951, et seq.

          40.    Defendant is Plaintiff’s “employer” and thereby subject to the strictures of the

Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.

          41.    Defendant’s conduct in terminating Plaintiff is an adverse action, was taken as a

result of his disability and constitutes a violation of the Pennsylvania Human Relations Act, 43

P.S. § 951, et seq.

          42.    As a proximate result of Defendant’s conduct, Plaintiff sustained significant

damages, including but not limited to: great economic loss, future lost earning capacity, lost

opportunity, loss of future wages, loss of front pay, loss of back pay, as well as emotional
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distress, mental anguish, humiliation, pain and suffering, consequential damages and

Plaintiff has also sustained work loss, loss of opportunity and a permanent diminution of his

earning power and capacity and a claim is made therefore.

       43.     As a result of the conduct of Defendant’s owners/management, Plaintiff hereby

demands punitive damages.

       44.     Pursuant to the Pennsylvania Human Relations Act, 43 P.S. § 951, et seq.,

Plaintiff demands attorney’s fees and court costs.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff, David Conner demands judgement in his favor and against

Defendant, Wal Mart, Inc., in an amount in excess of $150,000.00 together with:

               A. Compensatory damages for: including, but not limited to: emotional distress,

               pain and suffering, personal injury damages, economic loss, lost wages and

               benefits, lost future earnings and lost future earning capacity;

               B. Punitive damages;

               C. Treble damages;

               D. Attorney’s fees and costs of suit;

               E. Interest, delay damages; and,

               F. Any other further relief this Court deems just proper and equitable.

Date: August 26, 2022                         LAW OFFICES OF ERIC A. SHORE, P.C.
                                                      /s/ Mary LeMieux-Fillery, Esquire
                                              BY: _          _____________________
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                                        VERIFICATION

       I, David Conner, verify that the statements made in the foregoing Civil Action Complaint

are true and correct to the best of my knowledge, information and belief.

       I understand that false statements herein made are subject to penalty of law, relating to

unsworn falsification to authorities.                 Electronically Signed                  2022-08-26 19:23:30 UTC - 174.251.209.82




Date: 08/26/2022                                BY:   Nintex AssureSign®                         9334f35f-dcc4-40f8-a8e2-aefd013ebff4




                                                      David Conner
